






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-07-00679-CV






Texas Department of Public Safety, Appellant


v.


Nicole Skinner, Appellee






FROM COUNTY COURT AT LAW NO. 2 OF TRAVIS COUNTY

NO. C-1-CV-07-005218, HONORABLE ERIC SHEPPERD, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


		This appeal concerns whether a vehicle crossing the line separating the right lane of
a highway from the improved shoulder may provide reasonable suspicion for a traffic stop.  The
administrative law judge found that, under the circumstances of this case, it did.  The administrative
law judge then authorized the Texas Department of Public Safety to suspend Nicole Skinner's
driving privileges based on her arrest for driving while intoxicated and refusal to provide a specimen
of her breath or blood as a result of the stop.  The trial court reversed the administrative decision. 
We conclude that, given the undisputed evidence that Skinner drove her vehicle at least partly on the
improved shoulder of the road, and that such driving was not for one of the lawful purposes provided
for by statute, Skinner committed a violation of section 545.058 of the transportation code.  This
traffic violation provided reasonable suspicion to stop Skinner.  We reverse the trial court's judgment
and render judgment reinstating the administrative decision.

		On October 12, 2006, at some time after 2:00 a.m., Officer Tomas Montez of the
Austin Police Department was traveling northbound on Highway 183, a three-lane divided highway. 
Skinner was also traveling northbound, driving in the far right lane.  Montez saw Skinner's vehicle
leave its lane--such that its right tires crossed over the white line separating the far right lane
from&nbsp;the right shoulder of the highway (the "fog line")--and then return.  After seeing this, Montez
initiated a traffic stop.  During the traffic stop, Montez observed that Skinner showed signs of
intoxication.  Montez asked Skinner to exit the vehicle and administered field sobriety tests.  Based
on Montez's observations, Skinner's admitting to having consumed three or four beers, and
the&nbsp;results of the field sobriety tests, Montez arrested Skinner for driving while intoxicated.  Skinner
refused to submit a specimen of her breath or blood.  Because Skinner refused to submit to the taking
of a specimen, the Department sought to suspend her driver's license for 180 days.  See Tex. Transp.
Code Ann. §&nbsp;724.035(a) (West Supp. 2008).

		At Skinner's request, an administrative hearing was held on May 2, 2007, regarding
the license suspension.  See id. §&nbsp;724.041 (West Supp. 2008).  At the hearing, the Department
introduced Montez's sworn report, and Montez also testified at the hearing.  Skinner did not offer
any evidence.  The administrative law judge found that Skinner "straddled the outside lane and the
shoulder and crossed over the solid white line," and concluded that reasonable suspicion to stop
Skinner existed and, as a result, the Department was authorized to suspend Skinner's license. 
Skinner sought judicial review of the administrative decision, alleging that reasonable suspicion to
initiate a traffic stop did not exist.  The trial court reversed the administrative decision and denied
the suspension of Skinner's license.

		The Department appeals the trial court's reversal of the administrative law judge's
order.  The Department contends that the police officer was justified in stopping Skinner based on
the reasonable suspicion that Skinner violated the law by driving on an improved shoulder.  See id.
§&nbsp;545.058(a) (West 1999).

		Pursuant to the Administrative Procedure Act, a reviewing court tests the agency's
findings, inferences, conclusions, and decisions to determine whether they are reasonably supported
by substantial evidence considering the evidence in the record as a whole.  See Tex. Gov't Code
Ann. §&nbsp;2001.174 (West 2008); Mireles v. Texas Dep't of Pub. Safety, 9 S.W.3d 128, 131
(Tex.&nbsp;1999).  When, as here, the facts are undisputed, we review de novo whether they are sufficient
to give rise to reasonable suspicion.  See Garcia v. State, 43 S.W.3d 527, 530 (Tex. Crim. App.
2001).  The issue for the reviewing court is not whether the administrative law judge's decision was
correct but only whether the record demonstrates some reasonable basis for the decision.  Mireles,
9 S.W.3d at 131.

		Reasonable suspicion exists if the officer can articulate specific facts that, when
combined with rational inferences from those facts, would lead him to reasonably suspect
that&nbsp;a&nbsp;particular person is, has been, or soon will be engaged in criminal activity.  Ford v. State,
158&nbsp;S.W.3d 488, 493 (Tex. Crim. App. 2005).  Officer Montez observed the right tires of Skinner's
car cross over the "fog line" and drive onto the improved shoulder on the right side of the roadway. 
Section 545.058(a) of the transportation code permits this action only in certain circumstances:


An operator may drive on an improved shoulder to the right of the main traveled
portion of a roadway if that operation is necessary and may be done safely, but only:


(1)	to stop, stand, or park;

(2)	to accelerate before entering the main traveled lane of traffic;

(3)	to decelerate before making a right turn;

(4)	to pass another vehicle that is slowing or stopped on the main traveled
portion of the highway, disabled, or preparing to make a left turn;

(5)	to allow another vehicle traveling faster to pass;

(6)	as permitted or required by an official traffic-control device; or

(7)	to avoid a collision.


Tex. Transp. Code Ann. §&nbsp;545.058(a).  The statute requires that any driving on the improved
shoulder be both safe and necessary for one of the reasons listed.  See id.  Regardless of whether
Skinner's driving on the improved shoulder was done "safely," there is no evidence that it
was&nbsp;necessary for any of the seven reasons for which driving on the shoulder is lawful under
section&nbsp;545.058(a).  Thus, without some evidence or proof that she drove on the improved shoulder
for one of the permissible reasons, Skinner committed a traffic violation.  Reasonable suspicion
existed the moment Skinner, in plain view of a police officer, drove on the improved shoulder in a
manner in which the officer could have reasonably concluded that none of the seven reasons for
lawfully doing so applied. (1)

		Skinner argues that a single instance of a vehicle's right tires crossing onto the right
shoulder does not constitute "driving" for purposes of section 545.058(a).  Skinner contends that
both the statute's requirement that any driving on the right shoulder "be done safely" and the
statute's seven reasons for which such driving is permitted if necessary demonstrate that a vehicle
must be substantially on the shoulder in order to actually be "driving" on the shoulder.  Skinner's
argument is not supported by the statute's plain language.  Section 545.058(a) of the transportation
code expressly applies to an operator who drives on the shoulder.  The statute does not qualify
the&nbsp;term "drive" with "substantially," "for an appreciable distance," or any other qualifier that would
suggest that the term "drive" contemplates something more than driving on the shoulder
momentarily or briefly.  While the inclusion of the word "safely" in the statute creates a required
statutory element, we see no reason why it would change the meaning of the term "drive." 
Moreover, it is conceivable that a lawful reason for which it is necessary and safe to drive on the
right shoulder--avoiding a collision, for example--could require only that the vehicle's right tires
briefly cross the solid right line.  We also note the increased difficulty that would result for drivers
who are lawfully using the right shoulder under section 545.058(a) to do so safely if other vehicles
could legally cross over the solid line--regardless whether they did so safely--as long as they
were&nbsp;not "substantially" on the shoulder.  Finally, we note that no other court of appeals, in applying
transportation code section 545.058(a), has identified a situation in which a vehicle's right tires
crossed onto the right shoulder and yet the vehicle was not "driving" on the shoulder. (2) 
Consequently, we disagree with Skinner's proposed construction of section 545.058(a) of the
transportation code.

		We reverse the judgment of the trial court and render judgment reinstating the May&nbsp;2,
2007 administrative decision sustaining the 180-day suspension of Skinner's driving privileges.



						__________________________________________

						G. Alan Waldrop, Justice

Before Justices Patterson, Waldrop and Henson

Reversed and Rendered

Filed:   February 12, 2009
1.   Officer Montez testified that Skinner "failed to maintain a single lane," which appears
to&nbsp;relate to a violation of transportation code section 545.060.  See Tex. Transp. Code Ann.
§&nbsp;545.060(a) (West 1999).  However, an objectively valid stop may be upheld regardless of the
subjective intent of the officer conducting the stop.  Tanner v. State, 228 S.W.3d 852, 855
(Tex.&nbsp;App.--Austin 2007, no pet.).  Having determined that reasonable suspicion existed concerning
a violation of section 545.058(a), we need not address any potential violation of section 545.060.
2.   See, e.g., Lenox v. State, No. 10-05-00249-CR, 2006 Tex. App. LEXIS 4526
(Tex.&nbsp;App.--Waco May 24, 2006, no pet.) (mem. op., not designated for publication) (vehicle
crossed the solid white line and struck the "rumble strips"); State v. Wise, No. 04-04-00695-CR,
2005 Tex. App. LEXIS 10796 (Tex. App.--San Antonio Oct. 26, 2005, no pet.) (mem. op.,
not&nbsp;designated for publication) (both right tires crossed over the white line); State v. Lockhart,
No.&nbsp;07-04-00304-CR, 2005 Tex. App. LEXIS 6159 (Tex. App.--Amarillo Aug. 2, 2005, no pet.)
(mem. op., not designated for publication) (right tires crossed solid white stripe "enough to see
blacktop in between the tire and the white stripe"); Tyler v. State, 161 S.W.3d 745, 749-50
(Tex.&nbsp;App.--Fort Worth 2005, no pet.) (truck partially crossed solid white line and straddled it for
a few moments); Martinez v. State, 29 S.W.3d 609, 610, 612 (Tex. App.--Houston [1st Dist.] 2000,
pet. ref'd) (right tires on the freeway shoulder for one or two seconds).


